              Case 5:23-cv-00043-OLG Document 5 Filed 01/27/23 Page 1 of 2             FILED
                                                                                  January 27, 2023
                                                                                CLERK, U.S. DISTRICT COURT
                                                                                WESTERN DISTRICT OF TEXAS

                              IN THE UNITED STATES DISTRICT COURT                                      JU
                                                                             BY: ________________________________
                                                                                                     DEPUTY
                                   WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

 RICARDO RIOS JR and RIGON LLC                    §
 Plaintiffs                                       §
                                                  §
 VS.                                              §         C.A. NO. 5:23-cv-00043-OLG
                                                  §
 WILMINGTON SAVINGS FUND                          §
 SOCIETY FSB AND                                  §
 SELECT PORTFOLIO SERVICING, INC.;                §
 DE CUBAS & LEWIS. SCHWARTZ, P.C., as             §
 substitute. Trustee                              §
 Defendants                                       §

                          AGREED ORDER OF DISMISSAL WITH PREJUDICE

          THIS MATTER is before the Court on the parties’ Agreed Stipulation of Dismissal With

Prejudice. The premises considered; now therefore, it is ORDERED that all claims and causes of

action brought by Plaintiffs, Ricardo Rios Jr. and Rigon LLC (“Plaintiffs”) herein against

Defendants, Wilmington Savings Fund Society FSB, not in its individual capacity, but solely as

Owner Trustee for CSMC 2021-NQM6 Trust, a Delaware statutory trust incorrectly named

Wilmington Savings Fund Society FSB (“Trustee”) and Select Portfolio Servicing, Inc. (“SPS”)

(both are collectively “Defendants”) are hereby dismissed with prejudice to re-filing same or any

part thereof.

                        27th
          SIGNED this ____________              January
                                   day of _____________________________, 2023.




                                            ORLANDO L. GARCIA
                                            UNITED STATES DISTRICT JUDGE




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APPROVED AND ENTRY REQUESTED:

Respectfully submitted,

By:      /s/ Chris A. Garcia
      Chris A. Garcia
      Texas Bar No: 24090110
      104 Babcock Rd, Suite 107
      San Antonio, TX 78201
      chris@gutierrezfirm.com

ATTORNEY-IN-CHARGE FOR PLAINTIFFS


By:       /s/ Michael F. Hord Jr.
      Michael F. Hord, Jr.
      Texas Bar No. 00784294
      Eric C. Mettenbrink
      Texas Bar No. 24043819
      Hirsch & Westheimer, P.C.
      1415 Louisiana, 36th Floor
      Houston, Texas 77002
      (713) 220-9182 Telephone
      (713) 223-9319 Facsimile
      mhord@hirschwest.com
      emettenbrink@hirschwest.com

ATTORNEYS-IN-CHARGE FOR DEFENDANTS




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